Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 1 of 19




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO

 Criminal Action No. 21-cr-00229-RBJ

 UNITED STATES OF AMERICA

             Plaintiff,

       v.

 DAVITA INC.;
 KENT THIRY

             Defendants.



   BRIEF OF AMICUS CURIAE NATIONAL ASSOCIATION OF CRIMINAL
   DEFENSE LAWYERS IN SUPPORT OF DEFENDANTS’ JOINT MOTION
                          TO DISMISS



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Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 2 of 19




                                           TABLE OF CONTENTS

                                                                                                             Page
 TABLE OF AUTHORITIES ............................................................................            ii

 INTRODUCTION ............................................................................................    1

   I. District Courts Can and Should Dismiss Cases Where There are
       Substantial Questions of Law Related to Novel Prosecutions. ..............                             1

       A. Supreme Court Precedent Counsels Dismissal. .................................                       1

       B. Judicial Fairness and Efficiency Weigh In Favor of Dismissal. ........                              5

  II. Substantial Due Process Concerns Exist Here .......................................                     8

 CONCLUSION................................................................................................. 13




                                                            i
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 3 of 19




                                          TABLE OF AUTHORITIES

                                                                                                                   Page(s)

 CASES

 Arthur Anderson LLP v. United States, 544 U.S. 696 (2005) ...................................... 7

 Aya Healthcare Servs., Inc. v. AMN Healthcare, Inc., — F.4th —, 2021
    WL 3671384 (9th Cir. Aug. 19, 2021) .................................................................... 11

 Bogan v. Hodgkins, 166 F.3d 509 (2d Cir. 1999) ........................................................ 11

 Bond v. United States, 572 U.S. 844 (2014) .............................................................. 1, 2

 Consultants & Designers, Inc. v. Butler Serv. Grp., Inc., 720 F.2d 1553
   (11th Cir. 1983) ....................................................................................................... 11

 Dickerson v. United States, 530 U.S. 428 (2000) .......................................................... 6

 Dowling v. United States, 473 U.S. 207 (1985) ............................................................. 4

 Eichorn v. AT & T Corp., 248 F.3d 131 (3d Cir. 2001) ............................................... 11

 Guedes v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 140 S.
   Ct. 789 (2020) (statement of Gorsuch, J.) ............................................................ 3, 7

 Kelly v. United States, 140 S. Ct. 1565 (2020) .................................................... 2, 3, 12

 Leegin Creative Products Inc., v. PSKS, Inc., 551 U.S. 877 (2007).......................... 3, 5

 Marks v. United States, 430 U.S. 188 (1977) ................................................................ 2

 McBoyle v. United States, 283 U.S. 25 (1931)............................................................... 4

 McDonnell v. United States, 136 S. Ct. 2355 (2016)..................................................... 4

 Nat’l Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141 (2021) ..................... 3, 10, 12

 Quinonez v. NASD, 540 F.2d 824 (5th Cir. 1976) ....................................................... 11

 Skilling v. United States, 561 U.S. 358 (2010) ......................................................... 4, 9

 Taggart v. Lorenzen, 139 S. Ct. 1795 (2019) ............................................................... 12


                                                              ii
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 4 of 19




                                     TABLE OF AUTHORITIES–continued



 United States v. Apel, 571 U.S. 359 (2014) ................................................................... 4

 United States v. Aguilar, 515 U.S. 593 (1995) .............................................................. 4

 United States v. Salazar, 323 F.3d 852 (10th Cir. 2003) ............................................. 5

 United States v. Santos, 553 U.S. 507 (2008) ..................................................... 7, 9, 13

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 Van Buren v. United States, 141 S. Ct. 1648 (2021)..................................................... 4

 Weisfeld v. Sun Chem. Corp., 210 F.R.D. 136 (D.N.J. 2002), aff’d, 84 F.
   App’x 257 (3d Cir. 2004) ......................................................................................... 11

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 Yates v. United States, 574 U.S. 528 (2015).................................................................. 2



 ACTS, STATUTES, AND RULES

 Chemical Weapons Convention Implementation Act of 1998 ...................................... 2

 Sarbanes-Oxley Act of 2002 .......................................................................................... 2

 Sherman Act ........................................................................................................ Passim

 18 U.S.C. § 1512(b) ........................................................................................................ 7

 18 U.S.C. § 3288 ............................................................................................................. 6

 18 U.S.C. § 3731 ............................................................................................................. 8

 Federal Rule of Criminal Procedure 12(b)(3)(B)(v) .............................................. 1, 5, 6

 Supreme Court Rule 10 ................................................................................................. 4


                                                               iii
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 5 of 19




                                      TABLE OF AUTHORITIES–continued



 OTHER AUTHORITIES

 Dep’t of Justice, Antitrust Division Manual (5th Ed.) ................................................. 9

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   Standards for Criminal Intent in Sherman Act Prosecutions, 29
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    REVIEW (Nov. 20, 2014),
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    plead-guilty/ .............................................................................................................. 5
 Lucian E. Dervan, Overcriminalization 2.0: The Symbiotic Relationship
   Between Plea Bargaining and Overcriminalization ............................................... 6




                                                                iv
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 6 of 19




                                    ARGUMENT

       It is axiomatic that due process principles restrict criminal liability to

 violations of laws of which the accused has fair notice. Criminal liability may not

 attach to conduct that is beyond the scope of an unambiguous criminal proscription—

 and all close calls must be resolved in favor of the defendant. Where a criminal

 violation is not supported by clear, existing authority—or where it is even a close

 question—the reviewing court should dismiss the criminal indictment under Federal

 Rule of Criminal Procedure 12(b)(3)(B)(v). Doing so ensures fairness by avoiding the

 grave harms associated with criminal prosecution—which frequently cannot be

 remedied by eventual reversal on appeal—while preserving the Department’s ability

 to pursue the prosecution if a reviewing court sees the law differently. These

 principles strongly support dismissal of the indictment here. Existing authority does

 not support criminal liability on the basis of a no-solicitation agreement, which no

 court has ever held to be a per se violation of the Sherman Act. Allowing the

 prosecution to proceed in these circumstances would be inconsistent with existing law

 and the Department’s own policy statements—and would thus violate due process.

 I.    District Courts Can and Should Dismiss Cases Where There are
       Substantial Questions of Law Related to Novel Prosecutions.

       A.     Supreme Court Precedent Counsels Dismissal.

       The Supreme Court has consistently warned the Department about

 prosecutions based upon overly expansive constructions of criminal statutes. In Bond

 v. United States, 572 U.S. 844 (2014), for example, the Department prosecuted a wife

                                          1
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 7 of 19




 who attempted to use toxic chemicals against her husband’s lover. Id. at 848, 852.

 Bond was charged with violations of the Chemical Weapons Convention

 Implementation Act of 1998, conditionally pleaded guilty, and challenged her

 conviction. Id. at 853–54. The Supreme Court unanimously held that the federal

 chemical warfare statute was not meant to apply to Bond’s conduct—an act of

 romantic jealous revenge—and that it was “incumbent upon the federal courts to be

 certain of Congress’ intent” to “assure[] that the legislature has in fact faced, and

 intended to bring into issue, the critical matters involved in the judicial decision.” Id.

 at 858–60 (citations omitted); see also id. at 871–72 (Scalia, J., concurring in

 judgment) (criminal statutes must be interpreted with a “realistic assessment[ ] of

 congressional intent”).

       Similarly, in Yates v. United States, 574 U.S. 528 (2015), Justice Ginsburg,

 writing for a four-justice plurality, rejected the application of the Sarbanes-Oxley Act

 of 2002—a federal securities fraud law enacted as a reaction to the Enron scandal—

 to a federal felony prosecution, the subject matter of which concerned “small fish.” Id.

 at 547. Justice Alito’s concurrence, which may well be controlling under Marks v.

 United States, 430 U.S. 188, 193 (1977), was influenced by the title of the statute

 which made reference to “records” and not to “fish.” And in Kelly v. United States, 140

 S. Ct. 1565 (2020), the Supreme Court recently reversed convictions arising out of the

 “Bridgegate” scandal, finding the Department’s interpretation of the federal fraud

 statutes at issue threatened a “sweeping expansion of federal criminal jurisdiction.”


                                             2
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 8 of 19




 Id. at 1574 (quoting Cleveland v. United States, 531 U.S. 12, 24 (2000)). The Court’s

 decision in Kelly was unanimous as was its decision this Term in Nat’l Collegiate

 Athletic Ass’n v. Alston, 141 S. Ct. 2141 (2021) holding, in a civil action, that the

 NCAA’s compensation restrictions are properly subject to a “rule of reason” analysis

 rather than a per se prohibition. Id. at 2156 (“aware that there are often hard-to-see

 efficiencies attendant to complex business arrangements—we take special care not to

 deploy [] condemnatory tools until we have amassed ‘considerable experience with

 the type of restraint at issue’”) (quoting Leegin Creative Products Inc., v. PSKS, Inc.,

 551 U.S. 877, 886-87 (2007)).

       Even more recently, the Supreme Court has been vocal against “bureaucratic

 pirouetting” in criminal cases. As Justice Gorsuch noted in a statement

 accompanying the denial of a petition for a writ of certiorari, the Supreme Court has

 “never held that the Government’s reading of a criminal statute is entitled to any

 deference.” Guedes v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 140 S. Ct.

 789, 790 (2020) (statement of Gorsuch, J.) (quoting United States v. Apel, 571 U.S.

 359, 369 (2014)). When “[t]he law hasn’t changed, only an agency’s interpretation of

 it,” courts need not defer to “bureaucratic pirouetting.” Id. at 790–91.

       The Department’s tin ear to the Supreme Court’s rebukes has ensured that

 these cases are a regular part of the Supreme Court’s docket—as well as the subject




                                            3
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 9 of 19




 of regular commentary from the Justices.1 These cases stand out both for their impact

 and their unusual presence on the Supreme Court’s very limited docket. What is more

 striking is that these cases often do not fit the traditional mold of arising out of a split

 of authority among the circuit courts of appeal or presenting a holding that is contrary

 to established Supreme Court precedent. See Supreme Court Rule 10. In the

 parlance, they are “one-offs”—yet there is good reason for the Court to grant review.

 Such prosecutions represent severe due process notice concerns, particularly the

 concern of overcriminalization of otherwise permissible conduct in commercial and

 regulatory fields where Congress has not clearly criminalized such conduct. Allowing

 these cases to go forward with obvious flaws risks more prosecutions of the same ilk,

 gives prosecutors overwhelming leverage at the negotiating table, and allows

 prosecutors to collect more fines and seek longer periods of incarceration for


 1 See also, e.g., Van Buren v. United States, 141 S. Ct. 1648, 1661 (2021) (“[T]he
 Government’s interpretation of the statute would attach criminal penalties to a
 breathtaking amount of commonplace computer activity”); McDonnell v. United
 States, 136 S. Ct. 2355, 2368–75 (2016) (narrowly interpreting an “official act” in the
 federal bribery statutes and expressing concerns about overbroad readings of
 criminal laws); Skilling v. United States, 561 U.S. 358, 411 (2010) (“honest-services
 fraud does not encompass conduct more wide ranging than the paradigmatic cases of
 bribes and kickbacks, we resist the Government’s less constrained construction
 absent Congress’ clear instruction otherwise.”); United States v. Aguilar, 515 U.S.
 593, 600 (1995) (“We have traditionally exercised restraint in assessing the reach of
 a federal criminal statute”); Dowling v. United States, 473 U.S. 207, 227 (1985) (“[T]he
 rationale supporting application of the statute under the circumstances of this case
 would equally justify its use in wide expanses of the law which Congress has
 evidenced no intention to enter by way of criminal sanction.”); Williams v. United
 States, 458 U.S. 279 (1982); McBoyle v. United States, 283 U.S. 25, 27 (1931) (“[A] fair
 warning should be given to the world in language that the common world will
 understand, of what the law intends to do if a certain line is passed.”).
                                              4
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 10 of 19




 individual defendants.

       B.     Judicial Fairness and Efficiency Weigh In Favor of Dismissal.

       As the Supreme Court’s repeated admonitions make clear, when the

 Department issues a criminal indictment based on a novel legal theory of prosecution,

 it must be closely scrutinized to determine if the attempted prosecution falls squarely

 within the statutory proscription. A motion to dismiss the indictment under Federal

 Rule of Criminal Procedure 12(b)(3)(B)(v) can and should be granted at the outset of

 criminal proceedings if the Department cannot establish that its theory of prosecution

 is well supported in law and, especially in antitrust matters, by considerable

 precedent. See Leegin 551 U.S. at 886.

       Blessing a novel prosecution theory hands prosecutors tremendous leverage at

 the bargaining table—leverage that often cannot be resisted, even by the innocent2

 and certainly not by any business that wishes to remain in existence. Indeed, in 2020,

 97.8 percent of all federal defendants pleaded guilty. Fiscal Year 2020 Overview of

 Federal Criminal Cases, at 8 (U.S. Sentencing Comm’n 2020). When a defendant

 enters into a plea deal, however, challenges to the prosecution’s legal theory are

 generally waived and therefore escape further review. See, e.g., United States v.

 Salazar, 323 F.3d 852, 856 (10th Cir. 2003). Plea bargaining thus effectively shields

 novel prosecution theories from legal scrutiny by anyone other than Department of



 2See Jed S. Rakoff, Why Innocent People Plead Guilty, THE NEW YORK REVIEW (Nov.
 20, 2014), https://www.nybooks.com/articles/2014/11/20/why-innocent-people-plead-
 guilty/.
                                           5
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 11 of 19




 Justice personnel who endorsed the theory in the first place. See also Lucian E.

 Dervan, Overcriminalization 2.0: The Symbiotic Relationship Between Plea

 Bargaining and Overcriminalization, 7 J.L. Econ. & Pol’y 645, 653 (2011) (“Despite

 the ever-growing number of Americans captured by the criminal justice system

 through an increasingly wide application of novel legal theories and overly-broad

 statutes, these theories and statutes are seldom tested. No one is left to challenge

 their application—everyone has pleaded guilty instead.”).

       Even where a defendant resists the pressures of plea bargaining, allowing a

 case to proceed to trial so that the prosecution can “present its evidence” in support

 of a novel theory imposes grossly disproportionate harms on the accused, with

 minimal countervailing benefit to the Department and the broader public that it

 serves. Acceding to the prosecution’s wishes to “bring its case” will not sharpen or

 otherwise contextualize the legal issues, which may be assessed on the indictment

 alone under Rule 12(b)(3)(B)(v). And the delay risks little: where the Department’s

 reading of the law is approved by reviewing courts, trial and conviction (or acquittal)

 can swiftly follow. E.g., Dickerson v. United States, 530 U.S. 428 (2000) (successful

 suppression motion for Miranda violations litigated on appeal and at the United

 States Supreme Court, following which the defendant was convicted at trial); see also

 27 F. App’x 236, 241 (4th Cir. 2001) (affirming conviction), 18 U.S.C. § 3288 (providing

 for tolling while the dismissal of an indictment is appealed).




                                            6
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 12 of 19




       By contrast, the risks for the accused of proceeding to trial are immense. The

 damaging effects that criminal defendants suffer, even if criminal charges are

 ultimately dropped or unsuccessful at trial or on appeal, cannot be undone. This is

 especially true of prosecutions like the instant one against businesses and their

 leaders, which inflict major reputational harms. One dramatic example is Arthur

 Anderson LLP v. United States, 544 U.S. 696 (2005). The Supreme Court ultimately

 reversed the conviction of Arthur Anderson as unsupported by law—holding that the

 jury instructions advocated for by the Department improperly allowed the jury to

 convict for conduct beyond the scope of the relevant statute, 18 U.S.C. § 1512(b). See

 544 U.S. at 706–08. But the reversal was meaningless to the defendant: the

 prosecution had already destroyed the nearly-century-old firm, which simply

 disappeared.

       It is thus imperative that the legal validity of this prosecution’s theory be

 subjected to careful judicial scrutiny at the outset—before the irreparable harms of a

 legally unsupported prosecution accrue. Courts “owe” criminal defendants “an

 independent determination that the law actually forbids their conduct. A ‘reasonable’

 prosecutor’s say-so is cold comfort in comparison. . . . [W]e have emphasized, courts

 bear an ‘obligation’ to determine independently what the law allows and forbids.”

 Guedes, 140 S. Ct. at 790 (statement of Gorsuch, J.) (citations omitted). That

 obligation is particularly pronounced in the context of a novel deployment of a

 criminal statute, as here, because the Supreme Court has long commanded that a “tie


                                           7
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 13 of 19




 must go to the defendant.” United States v. Santos, 553 U.S. 507, 514 (2008).

       All the more reason, then, for district courts to ensure that tenuous legal

 theories are thoroughly vetted at the earliest stage. If the prosecution of DaVita and

 Mr. Thiry is permitted to proceed, not only they and their reputations will suffer, but

 also there will be more prosecutions—and more investigations—on the same novel

 theory, before any appellate court has an opportunity to assess the viability of that

 theory. In contrast, a dismissal by this Court would permit the Department to take

 an immediate appeal (18 U.S.C. § 3731)—fully preserving its ability to pursue the

 present prosecution and others in the event that the Tenth Circuit or the Supreme

 Court endorses the Department’s unprecedented application of the Sherman Act.

 NACDL respectfully submits that this Court pursue the latter path, for the interest

 of justice and the pursuit of efficiencies for all participants in the criminal justice

 system.

 II.   Substantial Due Process Concerns Exist Here.

       The criminal statute under which DaVita and Mr. Thiry are accused—the

 Sherman Act—is “unusually vague.” George E. Garvey, The Sherman Act and the

 Vicious Will: Developing Standards for Criminal Intent in Sherman Act Prosecutions,

 29 Cath. U. L. Rev. 389, 389 (1980). In the Supreme Court’s words, “[t]he Sherman

 Act, unlike most traditional criminal statutes, does not, in clear and categorical

 terms, precisely identify the conduct which it proscribes.” United States v. U.S.

 Gypsum Co., 438 U.S. 422, 438 (1978).


                                           8
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 14 of 19




       This has important due process implications, because the Due Process Clause

 mandates that a criminal offense be defined “with sufficient definiteness that

 ordinary people can understand what conduct is prohibited” and “in a manner that

 does not encourage arbitrary and discriminatory enforcement.” Skilling, 561 U.S. at

 402–03 (quoting Kolender v. Lawson, 461 U.S. 352, 357 (1983)). Moreover, when there

 is any question whether a criminal statute prohibits the defendant’s conduct, the rule

 of lenity applies to prevent the loss of liberty. Santos, 553 U.S. at 514. The Supreme

 Court has construed the Sherman Act consistent with this fundamental principle.

 See U.S. Gypsum, 438 U.S. at 437.

       In a nod to these due process requirements, the Department’s Antitrust

 Division has adopted a policy of restricting criminal prosecution for Sherman Act

 violations to the most egregious, clearly unlawful cases. U.S. Dep’t of Justice,

 Antitrust Division Manual (5th Ed.) at III-12. The Department has provided that it

 will pursue criminal investigation and prosecution only “in cases involving

 horizontal, per se unlawful agreements, such as price fixing, bid rigging, and

 customer and territorial allocations.” Id. The Department will use only civil process

 “with respect to other suspected antitrust violations, including those that require

 analysis under the rule of reason,” or where “the case law is unsettled or uncertain”

 or “there are truly novel issues of law or fact presented.” Id.

       Limiting criminal prosecution to well-established per se violations assures

 compliance with constitutional notice requirements, because the per se rule cannot


                                            9
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 15 of 19




 be applied until courts “have amassed considerable experience with the type of

 restraint at issue and can predict with confidence that it would be invalidated in all

 or almost all instances” Alston, 141 S. Ct. at 2156 (cleaned up). By definition, then, a

 Sherman Act violation that is per se unlawful is one where—notwithstanding the

 vagueness of the statutory text—extensive case law authority provides notice that

 the conduct is unlawful.

       The prosecution that the Department is pursuing here does not fall within

 these guidelines. Under the law that exists today (and in all of the years before today),

 there has been nothing close to a “fair warning” that no-solicitation or no-hire

 agreements constitute per se violations of the Sherman Act that might give rise to

 criminal liability. Just the opposite.

       Assume an “ordinary” staffing company wanted to enter a reciprocal

 agreement with a competitor not to recruit employees in connection with their

 separate efforts to support a common client (whether it be a hospital, a financial

 services company or otherwise). Assume that company had a penchant not just for

 client service but for reviewing antitrust cases to ensure it does not run afoul of the

 Sherman Act. The company would learn that neither the Supreme Court nor any

 federal court of appeals has ever held that a no-solicitation agreement between

 competitors was per se illegal.

       If the company were to look more broadly, it would see that in the Second

 Circuit, restrictions on hiring among separate companies for sales agents did not


                                            10
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 16 of 19




 merit per se treatment. Bogan v. Hodgkins, 166 F.3d 509, 515 (2d Cir. 1999). It would

 also see that the Third Circuit rejected per se treatment for an agreement on hiring

 employees from a spun-off company for a period of time after the sale. Eichorn v. AT

 & T Corp., 248 F.3d 131, 142–44 (3d Cir. 2001). The company might take particular

 solace in the Third Circuit’s reference to Supreme Court precedent that “[t]he per se

 illegality rule applies only in those cases where the business practice in question is

 one, which on its face, has ‘no purpose except stifling of competition.’” Id. (quoting

 White Motor Co. v. United States, 372 U.S. 253, 263 (1963)). And it would find further

 reassurance in the Ninth and Eleventh Circuits. E.g., Aya Healthcare Servs., Inc. v.

 AMN Healthcare, Inc., — F.4th —, 2021 WL 3671384, at *5–6 (9th Cir. Aug. 19, 2021)

 (per se liability did not apply to agreement that allowed the defendant to “collaborate

 with its competitor for the benefit of its client without ‘cutting its own throat’” by

 risking the “los[s of] its personnel during the collaboration”); Consultants &

 Designers, Inc. v. Butler Serv. Grp., Inc., 720 F.2d 1553, 1561 (11th Cir. 1983) (no-

 hire agreement not “an appropriate candidate for per se treatment”). And so on. See

 Weisfeld v. Sun Chem. Corp., 210 F.R.D. 136, 143 (D.N.J. 2002), aff’d, 84 F. App’x 257

 (3d Cir. 2004) (“Given the limited application of the per se rule, and that Plaintiffs . .

 . have cited no case requiring the per se rule’s use in the context of a no hire

 agreement, this Court finds that Defendants’ agreement is likely to be reviewed

 under the rule of reason.”); see generally Quinonez v. NASD, 540 F.2d 824 (5th Cir.




                                            11
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 17 of 19




 1976) (alleged multi-employer restraint to prevent hiring of certain employees should

 be considered after a detailed factual review).

         No doubt the company would also review the Supreme Court’s most recent

 decision on labor and compensation restraints, Alston, which confirms just how

 narrowly and rarely the per se test is applied. 141 S. Ct. 2141, 2155–56 (2021). Even

 though the parties in Alston agreed on the scope of the relevant market, id. at

 2151–52, agreed that the affected persons (i.e., student-athletes) had “nowhere else

 to sell their labor,” id. at 2156, and agreed that the NCAA’s “admitted horizontal

 price fixing” of student-athlete’s compensation “in fact decrease[d] the compensation

 that student-athletes receive[d] compared to what a competitive market would

 yield,” id. at 2154, the Court unanimously concluded that the rule of reason, not per

 se liability, applied. That is because in virtually every case, “[w]hether an antitrust

 violation exists necessarily depends on a careful analysis of market realities.” Id. at

 2158.

         The Department may not now unilaterally determine that non-solicitation

 agreements are criminally sanctionable—particularly in the face of so much contrary

 precedent and the Department’s own published guidance. This Court should

 independently review the Department’s about-face here in light of the Supreme

 Court’s emphatic and ongoing direction that criminal and even serious civil penalties

 may arise only from clear prohibitions. See, e.g., Kelly, 140 S.Ct. at 1574 ; McDonell,

 136 S.Ct. at 2372–73 (2016); cf. Taggart v. Lorenzen, 139 S. Ct. 1795, 1799 (2019) (not


                                           12
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 18 of 19




 even civil contempt may be imposed unless “there is no fair ground of doubt as to”

 the impropriety of the challenged conduct (emphasis in original)).

       If the Department is offended by the kind of agreement it is challenging here,

 it has a remedy: it can seek injunctive relief. And if courts over time conclude that

 these agreements lack any pro-competitive value, then eventually the challenged

 conduct could be deemed per se illegal. But what the Department cannot do is start

 with a criminal prosecution based on a novel interpretation of the Sherman Act’s

 inherently imprecise language. Having conduct determined, again and again, as

 plainly anticompetitive is a prerequisite for per se status—and, in turn, for criminal

 prosecution. That has not happened with respect to no-solicit (or no-hire) agreements,

 which have consistently been upheld by myriad circuit courts. This is not a close

 question under existing precedent. But even if it were, “the tie must go to the

 defendant.” Santos, 553 U.S. at 514.

                                   CONCLUSION

       For the foregoing reasons, this Court should dismiss the indictment.




                                          13
Case 1:21-cr-00229-RBJ Document 51-2 Filed 09/22/21 USDC Colorado Page 19 of 19




 Dated: September 21, 2021                 Respectfully submitted,

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                                      14
